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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

DAN MCCOMMIS,                                     § No. 4:15-cv-98
                                                  §
  Plaintiff,                                      §
                                                  §
  v.                                              §
                                                  §
GC SERVICES, LP,                                  §
                                                  §
  Defendant.                                      §
                                                  §

                                          COMPLAINT

       DAN MCCOMMIS (Plaintiff), through attorneys, KROHN & MOSS, LTD., alleges the

following against GC SERVICES, LP (Defendant):

                                       INTRODUCTION

   1. Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15 U.S.C. 1692 et

       seq. (FDCPA).

   2. Defendant acted through its agents, employees, officers, members, directors, heirs,

       successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                                JURISDICTION AND VENUE

   3. Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that such

       actions may be brought and heard before “any appropriate United States district court

       without regard to the amount in controversy.”

   4. Defendant conducts business in the state of Texas, and therefore, personal jurisdiction is

       established.

   5. Venue is proper pursuant to 28 U.S.C. 1391(b)(2).

                                   PLAINTIFF’S COMPLAINT                                            1
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                                        PARTIES

6. Plaintiff is a natural person residing in Humble, Harris County, Texas.

7. Plaintiff is a consumer as that term is defined by 15 U.S.C. 1692a(3), and according to

   Defendant, Plaintiff allegedly owes a debt as that term is defined by 15 U.S.C. 1692a(5).

8. Defendant is an alleged debt collector as that term is defined by 15 U.S.C. 1692a(6), and

   sought to collect a consumer debt from Plaintiff.

9. Defendant is a national debt collection company with its main office located in Houston,

   Texas.

                                  FACTUAL ALLEGATIONS

10. Defendant places collection telephone calls to Plaintiff in an attempt to collect an alleged

   debt.

11. Plaintiff’s alleged debt arises from transactions for personal, household, and/or family

   purposes.

12. Defendant places collection calls to Plaintiff at 281-686-8685.

13. In or around June of 2014, Defendant placed a collection call to Plaintiff and left a

   voicemail message.

14. In the voicemail message, Defendant’s representative, “Bianca Aceves,” failed to disclose

   the name of the company placing the call, failed to state that the call was being placed by a

   debt collector, and failed to state that the call was being placed to collect an alleged debt.

   See Transcribed Voicemail Message attached hereto as Exhibit “A.”

15. In the voicemail message, Defendant’s representative, “Bianca Aceves,” directed Plaintiff to

   return the call to 1-866-391-0768 extension 5052, which is a number that belongs to

   Defendant. See Exhibit “A.”
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   16. Defendant is using false, deceptive and misleading means in connection with attempting to

      collect a debt by not identifying the purpose of its phone calls or that they are an attempt to

      collect a debt.

                                COUNT I
       DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT


   17. Defendant violated the FDCPA based on the following:

          a. Defendant violated §1692d(6) of the FDCPA by placing collection calls to Plaintiff

              without meaningful disclosure of the caller’s identity.

          b. Defendant violated § 1692e of the FDCPA by using false, deceptive or misleading

              representations or means in connection with the collection of the debt;

          c. Defendant violated § 1692e(11) of the FDCPA by failing to disclose in its

              communications with Plaintiff that the communication was from a debt collector.

      WHEREFORE, Plaintiff, DAN MCCOMMIS, respectfully requests judgment be entered

against Defendant, GC SERVICES, LP, for the following:

   18. Statutory damages pursuant to the Fair Debt Collection Practices Act, 15 U.S.C. 1692k.

   19. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act, 15

      U.S.C. 1692k

   20. Any other relief that this Honorable Court deems appropriate.




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                                         RESPECTFULLY SUBMITTED,

Dated: January 13, 2015                  By:/s/Ryan Lee
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